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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                     :
UNITED STATES OF AMERICA,                            :           CASE NO. 1:05-CR-433 [1:07-CV-297]
                                                     :
                  Plaintiff/Respondent,              :
                                                     :
vs.                                                  :           ORDER & OPINION
                                                     :           [Resolving Doc. No. 77]
MICHAEL FROST,                                       :
                                                     :
                  Defendant/Petitioner.              :
                                                     :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        On February 2, 2007, Petitioner Michael Frost filed a motion to vacate, set aside, or correct

his sentence under 28 U.S.C. § 2255. [Doc. 77.] On April 5, 2007, the Government opposed Frost’s

motion. [Doc. 84.] Petitioner Frost filed a reply on May 7, 2007. [Doc. 86.] This Court referred the

case to Magistrate Judge George J. Limbert under Local Rule 72.1. [Doc. 78.] On April 4, 2008,

Magistrate Judge Limbert filed a Report and Recommendation. [Doc. 96.] With that Report and

Recommendation, the Magistrate Judge recommends that this Court deny Frost’s motion. Frost does

not object to the Magistrate Judge’s findings.                  For the reasons provided below, the Court

DECLINES TO ADOPT the Magistrate Judge’s Report and Recommendation and

CONDITIONALLY GRANTS Frost’s motion.

                                                I. Background

        On August 31, 2005, the Government filed a multi-count indictment against Petitioner

Michael Frost and others involved in a drug conspiracy. [Doc. 8.] On October 19, 2005, Petitioner

Frost, with counsel, pled guilty pursuant to a plea agreement to Count 5 of the indictment charging

distribution of cocaine hydrochloride, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(c). [Doc. 33.]


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As part of the plea agreement, the Government agreed to dismiss the remaining counts of the

indictment at the time of sentencing. [Doc. 38.]

        On January 18, 2006, Petitioner Frost filed an objection to the presentence report prepared

in his case and a motion for a downward variance. [Doc. 58.] In the presentence report, the Probation

Department recommended Frost be found a career offender under U.S.S.G. § 4B1.1(a)(3). The

Probation Department based this recommendation upon Frost’s two prior convictions for drug

offenses, one a 1996 state conviction for Attempted Drug Trafficking and the other a 1998 federal

conviction for Distribution of Cocaine Hydrochloride. In objecting to the presentence report,

Petitioner Frost argued that although he technically qualified as a career offender, “the career offender

designation substantially overstate[d] the seriousness of Mr. Frost’s criminal record.” [Id. at 2.] Frost

argued that the first drug conviction for Attempted Trafficking, though a felony, was significantly less

serious than reflected by the Guidelines calculation. In that state case, Frost was arrested after police

recognized a passenger in his car who then fled; when searching the car, police found drugs and a

firearm. Frost contended that this conviction was not as serious as the Guidelines reflect because it

occurred nearly a decade earlier, involved a small quantity of drugs, and resulted in a minimal

sentence of four months in prison. Therefore, Petitioner Frost argued that the Court should not

enhance his sentence from a 37-46 month range to the 188-235 month range required by the career

offender classification.

        At Frost’s sentencing hearing on January 25, 2006, the Court sought clarification from

Petitioner Frost’s counsel regarding the nature of the Defendant’s objection to the presentence report.

Frost’s counsel explained:

        [F]irst, initially I made [the argument] . . . that perhaps this may not be a career

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        offender situation, although it seems to me that by pure operation of the statute, that
        we have a situation where he is a career offender so the argument I make to the Court
        is one for a downward departure, a variance.

[Doc. 71 at 3.] Based on this representation, the Court overruled any objection to the report, and

found that both prior drug convictions were qualifying offenses for purposes of the career offender

determination. [Id.] The Court then proceeded to hear the Government’s view on whether the

Defendant’s criminal history was overrepresented because the state drug conviction for Attempted

Drug Trafficking was such a low level offense. The Government reiterated that the offense was a

qualifying prior conviction, and encouraged the Court not to consider the underlying offense conduct.

[Id. at 4-7.] The Government also argued the aggravating circumstance that Frost committed the

instant offense while on supervised release for a federal conviction for intent to distribute cocaine.

[Id.]

        The Court concluded that the presentence report’s recommendation overstated Frost’s

criminal history, and so reduced his criminal history category from a Level VI to a Level V. [Id. at

8-10] In so finding, the Court relied principally on the fact that the predicate state offense was a

relatively minor offense and occurred nearly ten years earlier. [Id. at 10.] With the offense level set

at 31 and the criminal history category at V, the recommended Guidelines range was 168-210 months

imprisonment. [Id. at 9.]

        Before sentencing, the Court heard statements on behalf of the Defendant. Defense counsel

reiterated that “[t]he career offender status, even with the downward departure, create[d] a very harsh

result.” [Id. at 10.] Referring to arguments already made in the sentencing memo, defense counsel

highlighted Frost’s promising characteristics and requested that the Court sentence at the low end of

the Guidelines range, “considering this to be an enormous enhancement that the career offender status

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imposes on Mr. Frost.” [Id. at 12.] Before pronouncing sentence, the Court considered the § 3553(a)

factors as they applied to the Defendant. Noting some hesitation about whether the Guidelines range

“reflect[s] the seriousness of the offense,” “especially in comparison to state sentences,” the Court

sentenced Frost below the Guidelines range, to 135 months imprisonment. [Id. at 14-15.] Before the

hearing adjourned, the Government noted an objection to the downward departure, but defense

counsel made no objections. [Id. at 17.]

                                         II. The Instant Motion

        Frost filed the instant motion on February 2, 2007. In his motion, Frost asserts two grounds

for relief: ineffective assistance of counsel at sentencing in violation of his Fifth and Sixth Amendment

rights and a Due Process violation because he was denied a fair sentencing hearing where information

provided to the Court did not bear sufficient indicia of reliability. [Doc. 77.]

        In his first ground for relief, the Petitioner argues that his counsel rendered ineffective

assistance by failing to object to the enhancement of the Petitioner’s sentence based on the prior state

conviction. [Id. at 2.] Challenging his career offender classification, the Petitioner argues that his 1996

state conviction for Attempted Drug Trafficking did not qualify as a predicate controlled substance

offense. The Guidelines define such qualifying offenses as those “that prohibit[] the manufacture,

import, export, distribution, or dispensing of a controlled substance . . . or the possession of a

controlled substance . . . with intent to manufacture, import, export, distribute, or dispense.”

U.S.S.G. § 4B1.2(b). Because his state conviction involved only simple possession of cocaine, with

no intent element, the Petitioner argues it was not a qualifying offense. [Doc. 77 at 2-3.] In support

of this argument, Petitioner Frost cites United States v. Montanez, 442 F.3d 485 (6th Cir. 2006),

where the Sixth Circuit endorsed a categorical approach to statutory language, concluding that only

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offenses containing an element of intent to manufacture, import, export, distribute, or dispense qualify

as enhancers pursuant to U.S.S.G. § 4B1.2(b). The Sixth Circuit explicitly stated that convictions

under former O.R.C. § 2925.03 that criminalize only possession, such as Petitioner’s Frost 1996

conviction,1/ do not qualify as controlled substance offenses under U.S.S.G. § 4B1.1. Montanez, 442

F.3d at 494.

        In making his ineffective assistance of counsel claim, Petitioner Frost acknowledges that

Montanez was decided over a month after the sentencing in his case. However, Frost notes that the

case was pending at the time of his plea and sentencing. [Doc. 77 at 3.] Frost further argues that

“Montanez did not create new law but simply clarified Guideline interpretation” and was based on

existing caselaw in both the Sixth Circuit and other federal circuits. [Id.] Thus, counsel was

ineffective in not raising an objection to Frost’s career offender status at sentencing, at least to

preserve the issue for direct appeal.

        In his second ground for relief, the Petitioner argues that the Probation Department failed to

adequately and correctly advise the court as to the nature of Frost’s prior state conviction and

applicable law. Without alleging bad faith, the Petitioner argues that the Probation Department

“could have discovered the true nature of his prior conviction and further should have been aware of

the potential interpretation of law which was later clarified in Montanez.” [Id. at 4.] Because the

presentence report was erroneous and because he was sentenced based on a misunderstanding of the

applicable facts and law, Petitioner Frost argues that he was denied due process and his sentence is

void. [Id.]


        1/
         Montanez applied specifically to O.R.C. § 2925.03(6) and (9), but the Sixth Circuit noted that O.R.C. §
2925.03(4), the provision under which Petitioner Frost was convicted, similarly criminalized only possession.
Montanez, 442 F.3d at 493, n.5.

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       In opposing the Petitioner’s motion to vacate his sentence, the Government argues that

defense counsel’s performance was not deficient. The Government alleges that “when Frost was

sentenced in 2006, [the Sixth] Circuit’s statutory construction of Ohio’s former drug laws suggested

that any conviction under Section 2925.03 constituted a predicate controlled substance offense for

career offender status.” [Doc. 84 at 9.] Relying on two unpublished Sixth Circuit opinions, Gibbs v.

United States, 3 F.App’x 404, 2001 WL 133120 (6th Cir. 2001), and United States v. Coteat, 133

F.App’x 177, 2005 WL 1313529 (6th Cir. 2005), the Government argues that caselaw in the Sixth

Circuit at the time of Frost’s sentencing held that all provisions of O.R.C. § 2905.03 prohibited

possession with intent to distribute within the meaning of U.S.S.G. § 4B1.2(b). [Doc. 84 at 9-10.]

Therefore, the Government asserts, Frost’s counsel at sentencing “cannot be faulted for failing to

assert a meritless objection to the Court’s career offender determination.” [Id. at 10.] Further, the

Government argues that defense counsel could not be faulted for failing to predict the outcome of

Montanez, where the Sixth Circuit explicitly rejected Gibbs and Coteat as “wrongly decided” and

arguably abruptly changed course. [Id. at 10-11.] The Government also notes defense counsel’s

efforts at sentencing to represent the disproportionate effect of the application of the Guidelines

enhancement, and the success of those arguments given that Frost received a below-Guidelines

sentence of 135 months. [Id. at 12.] For all these reasons, the Government claims Petitioner Frost

fails to show that his counsel’s actions at sentencing fell below an objective standard of

reasonableness.

       In addition, the Government argues that in his plea agreement Petitioner Frost waived his right

to challenge his sentence on direct appeal or collaterally. [Id. at 13-15.] As a result, and because

Frost’s sentence was consistent with his plea agreement, the Government claims that the Petitioner

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cannot now seek to benefit from changes in the law after his plea agreement was concluded. [Id. at

15-16.] Further, the Government argues that even if Frost’s challenge to his sentence is not precluded

by his plea agreement, the challenge is not cognizable under § 2255 because it asserts a non-

constitutional error. [Id. at 16.] Assuming that the ineffective assistance claim fails, the Government

states that “a claim based on a change in statutory construction of Ohio’s former drug trafficking

statute, under Montanez, constitutes a nonconstitutional claim that does not amount to a due process

violation.” [Id. at 17.]

        In his reply to the Government’s response, Petitioner Frost argues that “Sixth [C]ircuit law

was at best conflicted and by no means clear on the Career Offender issue at the time of the

sentencing and indeed, sufficient caselaw existed that counsel should have at least raised the issue.”

[Doc. 86 at 2.] By making an objection, even if he had not prevailed at the sentencing hearing,

counsel would have preserved the issue for direct appeal, and Frost would have enjoyed the benefit

of the Montanez holding, which was decided less than two months after Frost’s sentencing. [Id.]

Frost further clarifies that, in his opinion, counsel was not ineffective for failing to predict the

Montanez outcome, but for failing to raise the issue that the prior state conviction was not a

qualifying trafficking offense and failing to object to Frost’s Career Offender classification. [Id. at 4.]

Citing caselaw from other circuits and a Sixth Circuit case that seemed to conflict with the Gibbs and

Coteat cases, United States v. Wright, 43 F.App’x 848 (6th Cir. 2002), the Petitioner argues that it

would have been prudent and reasonable for counsel at sentencing to raise the issue that Frost’s prior

state conviction was not a qualifying predicate offense. [Id. at 4-6.] Because his plea agreement

allowed collateral attack based on a claim of ineffective assistance of counsel, and because counsel

was deficient, Petitioner Frost believes he is entitled to relief.

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                                         III. Legal Standard

A. Section 2255

        Section 2255 gives a federal prisoner post-conviction means of collaterally attacking a

conviction or sentence that he alleges to be in violation of federal law. See In re Gregory, 181 F.3d

713, 714 (6th Cir. 1999). Section 2255 provides four grounds upon which a federal prisoner may

challenge his conviction or sentence:

                1) That the sentence was imposed in violation of the Constitution or laws of
                the United States;

                2) That the court was without jurisdiction to impose such sentence;

                3) That the sentence exceeded the maximum authorized by law; or

                4) That the sentence is otherwise subject to collateral attack.

Hill v. United States, 368 U.S. 424, 426-27 (1963); 28 U.S.C. § 2255.

        To prevail on a § 2255 motion alleging a constitutional error, the movant “must establish an

error of constitutional magnitude which had a substantial and injurious effect or influence on the

proceedings." Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999) (citing Brecht v.

Abrahamson, 507 U.S. 619, 637-38 (1993)). Meanwhile, to prevail on a § 2255 motion alleging non-

constitutional error, the movant must establish a “‘fundamental defect which inherently results in a

complete miscarriage of justice,’ or, an error so egregious that it amounts to a violation of due

process." United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (citing Hill, 368 U.S. at

428).

B. Ineffective Assistance Of Counsel

        To prevail on a claim that counsel’s assistance was constitutionally ineffective, a movant under



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§ 2255 must pass a two-pronged test. First, he must show that counsel’s performance was so

deficient that he was not functioning as the “counsel” guaranteed by the Sixth Amendment.

Strickland v. Washington, 466 U.S. 668, 687 (1984). Judicial scrutiny of counsel’s performance is

highly deferential, and there is a strong presumption that counsel’s conduct falls within the wide range

of reasonable professional assistance. Id. at 689. Nonetheless, the court must make an independent

judicial evaluation of counsel's performance to determine whether counsel acted reasonably under all

the circumstances. Roe v. Flores-Ortega, 528 U.S. 470, 480-81 (2000). The Supreme Court in

Strickland emphasized that “strategic choices made after thorough investigation of law and facts

relevant to plausible options are virtually unchallengeable; and strategic choices made after less than

complete investigation are reasonable precisely to the extent that reasonable professional judgments

support the limitations on investigation.” Strickland, 466 U.S. at 690-91.

        Second, the movant must show that the deficient performance prejudiced the defense so

seriously as to deprive him of a fair trial. Id. at 687. The movant meets the second prong of the test

by showing “that there is a reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different. A reasonable probability is a probability sufficient

to undermine confidence in the outcome.” Id. at 694. “If it is easier to dispose of an ineffectiveness

claim on the ground of lack of sufficient prejudice, that course should be followed.” Id. at 697.

                                             IV. Analysis

A. Ground One: Ineffective Assistance Of Counsel

        Petitioner Frost faults his attorney for failing to object to the enhancement of the Petitioner’s

sentence related to his classification as a career offender. Acknowledging one federal conviction as

a qualifying offense, he challenges a prior state conviction as not a qualifying offense for career

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offender status. The Petitioner asserts that counsel failed to act in a reasonably competent manner

by failing to challenge the conclusion that the previous conviction was a qualifying predicate offense.

Counsel thereby failed to at least preserve the issue, which was contemporaneously being litigated

at the Sixth Circuit, for direct appeal. The Government responds that defense counsel was strategic

and effective in persuading the Court to grant a downward variance at sentencing, and could not be

expected to be clairvoyant with respect to the pending Sixth Circuit litigation. Magistrate Judge

Limbert agreed with the Government. The Court disagrees and finds both that defense counsel’s

performance at sentencing fell below an objective standard of reasonableness and that the deficient

performance prejudiced the Petitioner, resulting in a fundamentally unfair outcome of the proceeding.



i. Relevant Caselaw Regarding Predicate Offenses for Career Offender Enhancement

        According to the relevant Sentencing Guidelines, a defendant is a career offender if, among

other characteristics, the defendant has at least two prior felony convictions of either a crime of

violence or a controlled substance offense. U.S.S.G. § 4B1.1. In 1996, Petitioner Frost was arrested

because police seized a quantity of cocaine that was found in the car Frost was driving.2/ Frost was

subsequently convicted under O.R.C. § 2925.03(A)(4), which criminalized possession of a controlled

substance. [See Doc. 77, Ex. A at 4, Transcript of Plea.] This Court considers whether this prior

conviction should have qualified as a predicate offense under U.S.S.G. § 4B1.1 for the purposes of

career offender status and ensuing sentencing enhancement and whether Frost’s counsel was

ineffective for failing to raise or preserve this issue.


        2/
           That was how defense counsel portrayed the facts leading to the prior state conviction in the sentencing
memorandum filed with this Court. [Doc. 58 at 3-4.] Upon the Court’s inquiry at the sentencing hearing regarding
the veracity of this representation, the Government did not disagree. [See Doc. 71 at 4-5.]

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        On March 23, 2006, the Sixth Circuit decided United States v. Montanez, 442 F.3d 485 (6th

Cir. 2006), holding that convictions under former Ohio Revised Code §§ 2925.03(6) and (9) do not

qualify as controlled substance offenses for the purposes of career offender sentencing enhancement

under U.S.S.G. § 4B1.1.3/ Montanez, 442 F.3d at 494. In Montanez, the Sixth Circuit used the

categorical approach and looked at the statutory language for the convictions at issue. Id. at 491.

Ohio Revised Code § 2925.03(A)(6) read: “No person shall knowingly . . . [p]ossess a controlled

substance in an amount equal to or exceeding three times the bulk amount, but in an amount less than

one hundred times that amount.” O.R.C. § 2925.03(A)(6), qtd. in Montanez, 442 F.3d at 491. The

Sixth Circuit noted that “simple possession – that is, possession without the proof beyond a

reasonable doubt of the requisite intent to ‘manufacture, import, export, distribute, or dispense’ – is

not a controlled substance offense” for the purposes of sentencing. Montanez, 442 F.3d at 488.

Because the statutory language of O.R.C. §§ 2925.03(A)(4), (6), and (9) criminalized only possession

in a bulk amount, convictions under those provisions could not be qualifying convictions for

sentencing enhancement purposes.

        In reaching its conclusion in Montanez, the Sixth Circuit sought to address “past conflicting

unpublished dispositions” by the Circuit and “the errors contained in those decisions.” Id. at 491.

The Sixth Circuit expressly acknowledged that two such cases were “wrongly decided” – Gibbs v.

United States, 3 F.App’x 404 (6th Cir. 2001), and United States v. Coteat, 133 F.App’x 177 (6th Cir.

2005). Montanez, 442 F.3d. at 491. Rather than follow those cases, the Circuit decided to follow

its conflicting decision in United States v. Wright, 43 F.App’x 848 (6th Cir. 2002), and a similar



        3/
          This holding includes O.R.C. § 2925.03(A)(4) by extension, as it only varies from (A)(6) and (A)(9) by
involving lesser amounts. Montanez, 442 F.3d at 493, n.5.

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decision by the Ninth Circuit in United States v. Foster, 28 F.3d 109, 1994 WL 201201 (9th Cir.

1994) (interpreting O.R.C. § 2925.03(A)(4)).

       The Sixth Circuit’s use of the categorical approach to determine whether a prior conviction

qualified as a predicate offense for the purposes of sentencing enhancement was not new with

Montanez; such had long been the law. Taylor v. United States, 495 U.S. 575, 601-02 (1990); United

States v. Dolt, 27 F.3d 235, 238 (6th Cir. 1994); United States v. Arnold, 58 F.3d 1117, 1121 (6th

Cir. 1995); United States v. Butler, 207 F.3d 839, 843 (6th Cir. 2000); Gibbs v. United States, 3

F.App’x 404, 405 (6th Cir. 2001); United States v. Wright, 43 F.App’x 848, 851 (6th Cir. 2002);

United States v. Coteat, 133 F.App’x177, 178 (6th Cir. 2005). In applying the categorical approach,

courts look only to “the fact of conviction and the statutory definition of the predicate offense.”

Arnold, 58 F.3d at 1121 (citing Taylor, 495 U.S. at 602). Accordingly, “it is not only impermissible,

but pointless, for the court to look through to the defendant’s actual criminal conduct.” Wright, 43

F.App’x at 851 (quoting United States v. John, 936 F.2d 764, 767 (3rd Cir. 1991)).

       Given that the categorical approach had already been adopted at the time of Petitioner Frost’s

sentencing, the critical question for Frost’s counsel was how the categorical approach interpreted the

particular statute under which Frost was charged, O.R.C. § 2925.03(A)(4). At the time of Frost’s

sentencing, there were three Sixth Circuit opinions, all unpublished, directly on point. See Gibbs,

Wright, Coteat. Because all three cases were unpublished, none had binding precedential value.

Williamson v. Aetna Life Ins. Co., 481 F.3d 369, 376 n.4 (6th Cir. 2007).

       Admittedly, the most recent, Coteat, decided in 2005, seemed clear and controlling, holding

that a prior conviction under O.R.C. § 2925.03(A)(4) qualified as a predicate offense for purposes

of career offender status. Coteat, 133 F.App’x at 179. That decision relied entirely on the Circuit’s

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previous holding in Gibbs, which in turn had relied on an Ohio court’s interpretation of the statute,

the titles and targets of the Ohio drug statutes, and the possibility of an affirmative defense under §

2925.03 for possession for personal use. Gibbs, 3 F.App’x at 405-06. However, Coteat simply

ignored the intervening Wright case, wherein the Sixth Circuit explicitly found that § 2925.03

“includes both qualifying and non-qualifying crimes.” Wright, 43 F.App’x at 852. Further, in Wright,

the Sixth Circuit confirmed that § 2925.03(A)(4) did not contain an element of distribution, but

“rather mere possession [would] establish a violation.” Id. Because the 2005 decision in Coteat did

not address, much less reject, Wright, the two unpublished conflicting decisions coexisted. As such,

the 2006 decision in Montanez did not represent a change in law, but a choice of one interpretation

among two conflicting conclusions.

ii. Defense Counsel’s Performance was Deficient

         Defense counsel’s performance at sentencing was deficient in light of the conflicting Sixth

Circuit caselaw and the pending Montanez litigation. In its response opposing the instant motion, the

Government claims that Sixth Circuit caselaw available to Frost’s counsel at sentencing had

established that a prior conviction under O.R.C. § 2925.03(A)(4) constituted a predicate offense for

career offender status. However, as discussed above, that view overlooks the Wright decision and

the fact that Gibbs, Wright, and Coteat were all unpublished decisions with no binding precedential

value. Simply put, caselaw in the Sixth Circuit at the time of Frost’s sentencing was conflicted and

none was controlling.4/ There was, with Wright, at least one directly relevant Sixth Circuit case


         4/
           The Sixth Circuit acknowledged as much in its 2006 decision in Montanez. Montanez, 442 F.3d at 489
(“[T]here are conflicting unpublished dispositions on this issue in our Circuit . . . .”) and 792 (“Because of past
conflicting unpublished dispositions, however, we address the errors contained in those decisions.”) (emphasis added).
Magistrate Judge Limbert, too, admits as much with his characterization that “Sixth Circuit precedent in existence at
                                                                                                         (continued...)

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squarely in Frost’s favor.5/

         Nor is this a situation that depended upon a favorable outcome of Montanez, as Magistrate

Judge Limbert asserts. Certainly there was a possibility that Montanez would come out the other

way. But there was nothing to lose, regardless how Montanez came out. This was not a situation

where the “challenged action might be considered sound strategy.” Strickland, 466 U.S. at 689

(quotations and citations omitted).

         There was no cost to objecting to the Petitioner’s career offender status. Indeed, at

sentencing, the Court inquired as to whether the Defendant was making such an objection, and

offered a ruling (overruling the objection) in the event the Defendant was making such an objection.

The Court proceeded to grant a variance because the career offender classification seemed to

overstate the Defendant’s criminal history. This ruling was based, in major part, on the facts of the

underlying conviction. There was no reason to think this argument for a variance would have been

mutually exclusive to the objection to the career offender status. They are alternative arguments:

“The Defendant does not qualify as a career offender, but if he does, the classification overstates his

criminal history.” It is unreasonable to assume there would be risk to making this argument when



         4/
           (...continued)
the time of Petitioner’s sentencing was, at best, conflicting.” [Doc. 96 at 11.] However, the Court does not rely on either
of those sources, which both benefit from hindsight. The conflict in the caselaw, contained in such a closed universe
of three cases as it was, should have been clear at the time of Petitioner Frost’s sentencing in early 2006.
         5/
           There was also favorable caselaw in other jurisdictions. See Foster (interpreting the same Ohio statute) and
United States v. Gaintan, 954 F.2d 1005 (5th Cir. 1992). The Court does not suggest that Frost’s counsel at sentencing
had a duty to cite to caselaw from other jurisdictions. (Although the Third Circuit has held that the failure to cite
favorable decisions in other circuits indicates deficient performance under the Strickland standard. United States v.
Otero, 502 F.3d 331, 336 (3rd Cir. 2007).) However, it seems the Foster case, the Ninth Circuit’s interpretation of
the same provision of the Ohio code, would have been especially valuable to the Petitioner’s cause. Regardless, the
conflicting Gibbs-Wright-Coteat line of cases within the Sixth Circuit was sufficient notice to Frost’s counsel that Frost
at least had a cognizable argument.

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lawyers regularly make alternative arguments.

       There was also no cost to preserving the objection, without knowing how Montanez would

be decided. If Montanez had eventually come out the other way, affirming that Petitioner Frost was

a career offender, the Defendant simply would have lost on appeal. He would not have been subject

to resentencing, so there could have been no repercussions after the Montanez ruling.

       Magistrate Judge Limbert raises the possibility that counsel could have petitioned the Court

to continue the sentencing pending a ruling in Montanez. That may have been another reasonable

course of action. Magistrate Judge Limbert, however, suggests that asking for a continuance “could

have significantly undermined Petitioner’s motion for a downward variance if Montanez reaffirmed

the Coteat analysis.” [Doc. 96 at 12.] The Court disagrees. Just as making the objection at the time

of sentencing would not have undermined the simultaneous, alternative argument for a downward

variance because the career offender status overstated Frost’s criminal history, awaiting the Montanez

outcome would not have affected the chances for the variance argument to succeed. Had the Sixth

Circuit affirmed that Frost was a career offender, that would have had no bearing on the Court’s

conclusion as to whether a variance was warranted, just as the Court’s finding that Frost was a career

offender in the actual sentencing that occurred had no bearing on the Court’s decision to grant a

variance.

       The career offender classification and the downward variance arguments operate

independently of each other, other than the fact that the career offender classification is a condition

precedent to the variance argument. Once the career offender status is decided, and the question

turns to the downward variance, the career offender conclusion no longer bears on the variance

argument.

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        Given that there was Sixth Circuit caselaw in the Petitioner’s favor, the absence of any cost

or even effort involved in making an objection leads to the conclusion that defense counsel was did

not perform reasonably. No part of this conclusion requires or relies on hindsight, as prohibited by

Bell v. Cone, 535 U.S. 685, 698 (2002), and Strickland, 466 U.S. at 689, because the same would

have been true regardless how Montanez came out.

iii. Defense Counsel’s Deficient Performance Prejudiced the Petitioner

        The Sixth Circuit’s decision in Montanez most likely would have benefitted Petitioner Frost.

Whether the Petitioner would have succeeded at sentencing is immaterial. By objecting to the

Petitioner’s career offender status on the basis of the inclusion of the prior state conviction as a

predicate controlled substance offense, defense counsel would have at least preserved the issue for

direct appeal. Although Frost waived many rights to appeal in his plea agreement, he expressly

preserved the right to appeal “the district court’s determination of the defendant’s . . . Career

Offender status if objected to by the defendant at the time of sentencing.” [Doc. 38 at 5-6.] Because

Montanez was decided less than two months after Petitioner Frost’s sentencing, he in all likelihood

would have been able to take advantage of the decision on direct appeal. Although this conclusion

is not a certainty, it is reasonably probable - it is sufficient to undermine confidence in the outcome.

See Strickland, 466 U.S. at 694.

        Given the clear holding in Montanez, Frost would have won his appeal, and been resentenced

without the career offender designation. The applicable Guidelines range would have been 37-46

months, rather than the 188-235 months Frost actually faced as a career offender. Although Frost

was ultimately sentenced below the Guidelines range, at 135 months, that is still 89 months greater

than the maximum he should have faced. Certainly, the Guidelines are only advisory, and so there

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is no guarantee what sentence Frost would have received if he was not sentenced as a career offender.

But one can surmise based on the Court’s agreement with the Defendant’s argument about the

overstatement of his criminal history that the sentence would have been within, if not below, the 37-

46 month Guidelines range. In any event, such a vast difference in applicable Guidelines ranges

suggests the Petitioner is currently serving a sentence significantly longer than he would have faced

had the objection been preserved for appeal. The Court considers this discrepancy to have prejudiced

the Petitioner and resulted in a fundamentally unfair outcome – the Petitioner was sentenced at least

seven years beyond the sentence he should have received.

       For the foregoing reasons, the Court grants Petitioner Frost’s first ground for relief.

B. Ground Two: Due Process Violation

       Frost’s second ground for relief claims that the Probation Department failed to adequately and

correctly advise the Court about the Petitioner’s prior state conviction and applicable law. As a

result, the Petitioner claims the presentence report was incorrect, and the Petitioner was sentenced

based upon a misunderstanding of the relevant facts and law. Because the Court finds in the

Petitioner’s favor on the first ground for relief, the ineffective assistance of counsel claim, and

therefore grants the motion to vacate the Petitioner’s sentence, the Court need not consider this

second ground for relief.

                                           V. Conclusion

       For the reasons detailed above, the Court CONDITIONALLY GRANTS Petitioner Frost’s

motion to vacate, set aside, or correct his sentence. [Doc. 77.] Accordingly, the Petitioner’s sentence

is ordered vacated, and the Petitioner will be resentenced by this Court. Counsel for the United

States shall take the necessary action to have Defendant Frost returned to this Court’s jurisdiction

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for resentencing as soon as possible.

       IT IS SO ORDERED.



Dated: March 17, 2009                          s/       James S. Gwin
                                               JAMES S. GWIN
                                               UNITED STATES DISTRICT JUDGE




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